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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


NATIONAL VETERANS LEGAL
SERVICES PROGRAM,
   1600 K Street, NW
   Washington, DC 20006

NATIONAL CONSUMER LAW CENTER,
  1001 Connecticut Avenue, NW
  Washington, DC 20036

ALLIANCE FOR JUSTICE,                                 Case No. 16-745
   11 Dupont Circle, NW
   Washington, DC 20036,

for themselves and all others similarly situated,
                       Plaintiffs,

          v.

UNITED STATES OF AMERICA,
   950 Pennsylvania Avenue, NW
   Washington, DC 20530,
                    Defendant.



                         CORPORATE DISCLOSURE STATEMENT

          As counsel of record for the plaintiffs National Veterans Legal Services Program,

National Consumer Law Center, and Alliance for Justice, I certify under Local Civil Rules 7.1

and 26.1 that to the best of my knowledge and belief, no parent companies, subsidiaries, or

companies own at least 10% of the stock of any of the plaintiffs, nor do any of the plaintiffs have

parent companies, subsidiaries, or affiliates that have outstanding securities in the hands of the

public.

          These representations are made so that judges of this Court may determine the need for

recusal.
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                            Respectfully submitted,

                            /s/ Deepak Gupta
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April 21, 2016              Attorneys for Plaintiffs




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